Case 2:16-cv-04992-GW-AGR Document 1 Filed 07/07/16 Page 1 of 20 Page ID #:1




  1 QUINN EMANUEL URQUHART
      & SULLIVAN, LLP
  2 Adam B. Wolfson (SBN 262125)
    adamwolfson@quinnemanuel.com
  3 865 S. Figueroa St., 10th Floor
    Los Angeles, California 90017
  4 Telephone: (213) 443-3000
    Facsimile: (213) 443-3100
  5
    Raymond N. Nimrod (pro hac vice pending)
  6 raynimrod@quinnemanuel.com
    Matthew A. Traupman (pro hac vice pending)
  7 matthewtraupman@quinnemanuel.com
    51 Madison Ave.
  8 New York, NY 10010
    Telephone: (212) 849-7000
  9 Facsimile: (212) 849-7100
 10 Attorneys for Plaintiff
    MERCK SHARP & DOHME CORP.
 11
    [LIST OF COUNSEL CONTINUED ON
 12 NEXT PAGE]
 13
 14                          UNITED STATES DISTRICT COURT
 15                      CENTRAL DISTRICT OF CALIFORNIA
 16
 17
      MERCK SHARP & DOHME CORP.,            CASE NO.: 2:16-CV-4992
 18
                Plaintiff,                  COMPLAINT FOR
 19                                         DECLARATORY JUDGMENT OF
          vs.                               INVALIDITY AND
 20                                         NONINFRINGEMENT
    GENENTECH, INC. and CITY OF
 21 HOPE,                                   JURY TRIAL DEMANDED
 22             Defendants.
 23
 24
 25
 26
 27
 28
                                                                    Case No. 2:16-CV-4992
                                                     COMPLAINT FOR DECLARATORY JUDGMENT
Case 2:16-cv-04992-GW-AGR Document 1 Filed 07/07/16 Page 2 of 20 Page ID #:2




  1 SIMPSON THACHER &
      BARTLETT LLP
  2 Jeffrey E. Ostrow (SBN 213118)
    jostrow@stblaw.com
  3 2475 Hanover St.
    Palo Alto, CA 94304
  4 Telephone: (650) 251-5000
    Facsimile: (650) 251-5002
  5
    Katherine A. Helm (pro hac vice pending)
  6 khelm@stblaw.com
    425 Lexington Ave.
  7 New York, NY 10017
    Telephone: (212) 455-2000
  8 Facsimile: (212) 455-2502
  9 Attorneys for Plaintiff
    MERCK SHARP & DOHME CORP.
 10
 11
 12
 13
 14
 15
 16
 17
 18
 19
 20
 21
 22
 23
 24
 25
 26
 27
 28

                                          -2-                       Case No. 2:16-CV-4992
                                                     COMPLAINT FOR DECLARATORY JUDGMENT
Case 2:16-cv-04992-GW-AGR Document 1 Filed 07/07/16 Page 3 of 20 Page ID #:3




  1 Plaintiff Merck Sharp & Dohme Corp. (“Plaintiff” or “Merck”), for its Complaint
  2 against Genentech, Inc. (“Genentech”) and City of Hope (collectively,
  3 “Defendants”), alleges as follows:
  4                              NATURE OF THE ACTION
  5         1.    Plaintiff Merck seeks a declaration that U.S. Patent No. 7,923,221
  6 entitled “Methods of Making Antibody Heavy and Light Chains Having Specificity
  7 for a Desired Antigen” (the “Cabilly III patent,” attached as Exhibit A) is invalid,
  8 unenforceable and/or not infringed by the manufacture, use, sale, offer of sale, or
  9 importation of Merck’s KEYTRUDA® (pembrolizumab) and/or bezlotoxumab
 10 products. The Cabilly III patent was filed as a continuation application on April 13,
 11 1995, claiming priority to an earlier-filed application that issued on December 18,
 12 2001, as U.S. Patent No. 6,331,415 (the “Cabilly II Patent”).
 13         2.    The Cabilly II patent was filed as a continuation application of an
 14 application that was filed on April 8, 1983 and issued as U.S. Patent No. 4,816,567
 15 (the “Cabilly I patent”), which expired on March 28, 2006. The Cabilly I, II and III
 16 patents will collectively be referred to as the “Cabilly patents.” The Cabilly I and II
 17 patents are not at issue in this case.
 18         3.    Plaintiff has received approval from the U.S. Food and Drug
 19 Administration (“FDA”) to market and sell KEYTRUDA® (pembrolizumab) in the
 20 United States. The current approved indications are for the treatment of patients
 21 with unresectable or metastatic melanoma and for the treatment of patients with
 22 metastatic, PD-L1 positive, non-small cell lung cancer (NSCLC), as determined by
 23 an FDA-approved test, with disease progression on or after platinum-containing
 24 chemotherapy.
 25         4.    Plaintiff is currently seeking approval from the FDA to market and sell
 26 bezlotoxumab in the United States for the prevention of Clostridium difficile
 27 infection recurrence, an intestinal tract infection that is an increasingly frequent
 28 cause of morbidity and mortality among older adult hospitalized patients. Plaintiff

                                              -3-                         Case No. 2:16-CV-4992
                                                           COMPLAINT FOR DECLARATORY JUDGMENT
Case 2:16-cv-04992-GW-AGR Document 1 Filed 07/07/16 Page 4 of 20 Page ID #:4




  1 has expended substantial resources in preparing to launch and commercialize
  2 bezlotoxumab.      The FDA granted Priority Review for bezlotoxumab, with a
  3 Prescription Drug User Fee Act action date of July 23, 2016.
  4        5.     Plaintiff brings this action to lift the cloud created by the imminent
  5 threat of a lawsuit by Defendants against Plaintiff for infringement of the Cabilly III
  6 patent. Without declaratory relief, the threat of suit poses a substantial risk of injury
  7 to Plaintiff as well as the patients, physicians and nurses using KEYTRUDA®
  8 (pembrolizumab) and/or planning to use bezlotoxumab. The continued existence
  9 and threat of suit of this invalid patent harms Plaintiff’s manufacture, marketing,
 10 sale and use of KEYTRUDA® (pembrolizumab) and bezlotoxumab.
 11        6.     Defendants have asserted that the Cabilly patents broadly cover the use
 12 of certain well-known, conventional recombinant methods to produce any antibody
 13 product in any type of host cell. Defendants have filed infringement claims under
 14 the Cabilly III patent against numerous companies who have made and sold
 15 antibody products that were produced using recombinant methods similar to the
 16 recombinant methods used by Plaintiff to make KEYTRUDA® (pembrolizumab)
 17 and bezlotoxumab.
 18        7.     Defendants have also previously initiated patent license negotiations
 19 with Plaintiff concerning the Cabilly patents with respect to KEYTRUDA®
 20 (pembrolizumab),      bezlotoxumab     and     other   Merck   antibody     products     in
 21 development. Given Defendants’ acts and statements, Plaintiff’s manufacture and
 22 sale of KEYTRUDA® (pembrolizumab) and Plaintiff’s manufacture and expected
 23 future sale of bezlotoxumab in the United States, a real, immediate, and substantial
 24 dispute exists between the parties concerning the Cabilly III patent for which
 25 Plaintiff now seeks declaratory relief.
 26                                     THE PARTIES
 27        8.     Plaintiff Merck is a corporation organized and existing under the laws
 28 of the State of New Jersey, having a place of business at 2000 Galloping Hill Road

                                                 -4-                       Case No. 2:16-CV-4992
                                                            COMPLAINT FOR DECLARATORY JUDGMENT
Case 2:16-cv-04992-GW-AGR Document 1 Filed 07/07/16 Page 5 of 20 Page ID #:5




  1 Kenilworth, NJ 07033. Merck is a wholly owned subsidiary of Merck & Co., Inc., a
  2 New Jersey corporation which has its principal place of business at 2000 Galloping
  3 Hill Road Kenilworth, NJ 07033.
  4         9.     On information and belief, Defendant Genentech, Inc. is a corporation
  5 organized and existing under the laws of Delaware, having a principal place of
  6 business at 1 DNA Way, South San Francisco, California 94080. On information
  7 and belief, Genentech is in the business of, among other things, developing,
  8 manufacturing, marketing and selling pharmaceutical products in the United States,
  9 including in the Central District of California, and conducts business throughout the
 10 United States.
 11         10.    On information and belief, Defendant City of Hope is a not-for-profit
 12 organization organized and existing under the laws of California, having its
 13 principal place of business in this District at 1500 East Duarte Road, Duarte,
 14 California 91010.
 15         11.    On information and belief, Genentech and City of Hope are co-
 16 assignees of the Cabilly III patent.
 17                             JURISDICTION AND VENUE
 18         12.    This Court has jurisdiction over the subject matter of this action under
 19 28 U.S.C. §§ 1331 and 1338(a) because this action arises under the Declaratory
 20 Judgment Act of 1934 (28 U.S.C. §§ 2201-2202), Title 28 of the United States
 21 Code, for the purposes of determining an actual and justiciable controversy between
 22 the parties, and under the patent laws of the United States, Title 35 of the United
 23 States Code. This Court has subject matter jurisdiction pursuant to 28 U.S.C.
 24 §§ 1331 and 1338(a).
 25         13.    This Court has personal jurisdiction over Genentech based on its
 26 principal place of business in California. This Court has personal jurisdiction over
 27 City of Hope based on its organization under the laws of the State of California and
 28 because its principal place of operation is in this judicial district in California.

                                                -5-                          Case No. 2:16-CV-4992
                                                              COMPLAINT FOR DECLARATORY JUDGMENT
Case 2:16-cv-04992-GW-AGR Document 1 Filed 07/07/16 Page 6 of 20 Page ID #:6




  1        14.    Venue is proper in this District pursuant to 28 U.S.C. §§ 1391 and
  2 1400(b)because both Defendants reside in this District and a substantial part of the
  3 events or omissions giving rise to the claims occurred in this District.
  4         PLAINTIFF’S KEYTRUDA® (PEMBROLIZUMAB) PRODUCT
  5        15.    KEYTRUDA® (pembrolizumab) is a recombinantly-engineered
  6 monoclonal antibody that targets the programmed death receptor-1 (“PD-1”).
  7 KEYTRUDA® (pembrolizumab) is FDA-approved for the treatment of patients
  8 with unresectable or metastatic melanoma, and for the treatment of patients with
  9 metastatic or PD-L1 positive, non-small cell lung cancer (“NSCLC”), as determined
 10 by an FDA-approved test, with disease progression on or after platinum-containing
 11 chemotherapy.
 12        16.    KEYTRUDA® was the first anti-PD-1 therapy approved in the United
 13 States and received the FDA’s Breakthrough Therapy Designation for advanced
 14 melanoma. It is also the first anti-PD-1 therapy approved for both squamous and
 15 non-squamous metastatic NSCLC.
 16        17.    Following FDA approval, Plaintiff has begun marketing and selling
 17 KEYTRUDA® in the United States, physicians have begun prescribing
 18 KEYTRUDA®, and patients have begun taking KEYTRUDA® to treat the above-
 19 mentioned types of cancer. Plaintiff has expended substantial revenues researching,
 20 developing, launching and commercializing KEYTRUDA®.
 21                   PLAINTIFF’S BEZLOTOXUMAB PRODUCT
 22        18.    Bezlotoxumab is a recombinantly-engineered monoclonal antibody that
 23 targets and neutralizes Clostridium difficile toxin B, a toxin that can damage the
 24 intestinal tract and cause inflammation, leading to the symptoms of C. difficile
 25 enteritis. In January 2016, the FDA granted Priority Review for Merck’s Biologics
 26 License Application (“BLA”) for bezlotoxumab for prevention of C. difficile
 27 infection recurrence. If approved, bezlotoxumab will be the first therapy for the
 28 prevention of recurrent disease caused by C. difficile.

                                               -6-                           Case No. 2:16-CV-4992
                                                              COMPLAINT FOR DECLARATORY JUDGMENT
Case 2:16-cv-04992-GW-AGR Document 1 Filed 07/07/16 Page 7 of 20 Page ID #:7




  1        19.    On June 9, 2016, the FDA’s Antimicrobial Drugs Advisory
  2 Committee met to discuss bezlotoxumab and recommend approval of Merck’s BLA.
  3 The Prescription Drug User Fee Act (“PDUFA”) action date for the FDA’s review
  4 of bezlotoxumab is July 23, 2016.
  5        HISTORY AND BACKGROUND OF THE CABILLY III PATENT
  6        20.    On April 8, 1983, Shmuel Cabilly, Herbert Heyneker, William Holmes,
  7 Arthur Riggs, and Ronald Wetzel (collectively, the “Cabilly Applicants”) filed a
  8 patent application in the United States Patent and Trademark Office (“PTO”) that
  9 issued on March 28, 1989 as the Cabilly I patent. The Cabilly Applicants assigned
 10 their rights to Genentech and the City of Hope. The Cabilly I patent expired over a
 11 decade ago; on March 28, 2006.
 12        21.    At the time the Cabilly I patent issued, the Cabilly Applicants had a
 13 continuation patent application pending in the PTO, which ultimately issued as the
 14 Cabilly II patent.    The Cabilly II Patent has an extended prosecution history,
 15 including a patent interference and subsequent action under 35 U.S.C. § 146 and two
 16 reexaminations. Because the PTO ruled that the claims of the Cabilly III patent are
 17 not patentably distinct from the claims of the Cabilly II patent and, absent a terminal
 18 disclaimer would be invalid for obviousness-type double patenting, several aspects
 19 of the Cabilly II prosecution history are highlighted herein.
 20        22.    Notably, during prosecution of the application that led to the Cabilly II
 21 patent, the Cabilly Applicants copied claims from U.S. Patent 4,816,397 (the “Boss
 22 patent”) to provoke the PTO Board of Patent Appeals and Interferences (the “PTO
 23 Board”) to initiate an interference proceeding to determine whether the Boss
 24 patentees or the Cabilly Applicants were entitled to priority for the invention
 25 claimed in the Boss patent.
 26        23.    In February 1991, the PTO Board declared a patent interference
 27 between the pending Cabilly II application and the Boss patent on the ground that
 28 both the Boss patentees and the Cabilly Applicants claimed the same purported

                                              -7-                         Case No. 2:16-CV-4992
                                                           COMPLAINT FOR DECLARATORY JUDGMENT
Case 2:16-cv-04992-GW-AGR Document 1 Filed 07/07/16 Page 8 of 20 Page ID #:8




  1 invention. The PTO Board designated the Boss patentees as the senior party in the
  2 interference, which means that the Boss patentees were entitled to the presumption
  3 of being the prior inventor.
  4         24.   In August 1998, after seven years of adversarial proceedings, the PTO
  5 Board ruled that the Boss patentees won priority of invention over the Cabilly
  6 Applicants. See Cabilly v. Boss, 55 U.S.P.Q.2d 1238 (B.P.A.I. 1998). The PTO
  7 Board concluded that the Cabilly Applicants had failed to establish conception or
  8 reduction to practice of the claimed inventions prior to the March 25, 1983 filing
  9 date of the Boss patent. According to the PTO Board, “there is no evidence that
 10 immunoglobulins, multiple chains proteins, had been produced by recombinant
 11 DNA techniques from a single host cell prior to March 25, 1983.” Id. at *22.
 12 Moreover, “the evidence indicates that Cabilly et al. had but a hope or wish to
 13 produce active antibodies in bacteria; and, there is no supporting evidence to
 14 establish the development of the means to accomplish that result or evidence of a
 15 disclosure to a third party of complete conception.” Id. (emphasis added). The
 16 Final Decision therefore concluded that the Cabilly Applicants were “not entitled to
 17 a patent.” Id. at *23.
 18         25.   In October 1998, Genentech filed an action under 35 U.S.C. § 146
 19 against the owner of the Boss patent, Celltech Therapeutics Ltd. (“Celltech”) to
 20 appeal the PTO Board’s decision awarding priority to Boss. Genentech, Inc. v.
 21 Celltech Ltd., No. 98-cv-3926-MMC (N.D. Cal. 1998). In March 2001, the parties
 22 filed a notice of settlement. As part of that settlement, the parties asked the district
 23 court to find that, contrary to the PTO Board’s prior decision, the Cabilly Applicants
 24 were entitled to priority.
 25         26.   On information and belief, as part of the Genentech-Celltech
 26 agreement, Celltech obtained certain rights relating to the Cabilly II patent as well as
 27 certain payments from Genentech in exchange for its agreement to stipulate that the
 28 Cabilly Applicants were entitled to priority for the inventions claimed in the Boss

                                               -8-                         Case No. 2:16-CV-4992
                                                            COMPLAINT FOR DECLARATORY JUDGMENT
Case 2:16-cv-04992-GW-AGR Document 1 Filed 07/07/16 Page 9 of 20 Page ID #:9




  1 patent. According to Celltech’s 2001 Annual Report, “the royalty stream arising
  2 from the sale of antibody products covered by the Boss patent is important to
  3 Celltech, consequently . . . [t]he settlement with Genentech involves the payment of
  4 compensation to Celltech in terms of income from sales of products which would
  5 otherwise have been covered under the Boss patent. Importantly, Celltech has also
  6 secured preferential access for its development programmes to the Cabilly patent,
  7 which covers the production of a broad range of antibody or antibody fragment
  8 products, for its 17 year life.”
  9        27.    Ten days after the Genentech-Celltech agreement was filed, the district
 10 court issued a “Judgment” and order directing the PTO to vacate its determination
 11 that the Boss applicants were entitled to priority, to revoke the Boss patent, and to
 12 issue a patent to the Cabilly Applicants claiming the same subject matter as the Boss
 13 patent. The Cabilly II patent issued on December 18, 2001, and is co-assigned
 14 Genentech and City of Hope. The Cabilly II patent expires on December 18,
 15 2018—more than 35 years after the Cabilly Applicants’ original 1983 patent
 16 application, and more than 12 years after the Boss Patent would have expired.
 17        28.    The Cabilly III continuation patent application was pending in the PTO
 18 when the Cabilly II patent issued. The Cabilly III patent ultimately issued on April
 19 12, 2011 and is also assigned to Genentech and City of Hope. Much like its parent,
 20 the Cabilly III Patent has also been through an extended prosecution as well as a
 21 patent interference and appeal thereof. Because, as noted supra, the PTO rejected
 22 the Cabilly III patent claims as being invalid over the Cabilly II patent claims, the
 23 Cabilly III patent is subject to a terminal disclaimer over the Cabilly II patent, and
 24 hence also expires on December 18, 2018.
 25        29.    In January 2007, the PTO Board declared a patent interference between
 26 the then-pending Cabilly III application (U.S. Application No. 08/422,187), which
 27 claimed priority to the April 8, 1983 Cabilly I patent filing date, and a then-pending
 28 Boss application (U.S. Application No. 08/450,727), which claimed priority to the

                                              -9-                        Case No. 2:16-CV-4992
                                                          COMPLAINT FOR DECLARATORY JUDGMENT
Case 2:16-cv-04992-GW-AGR Document 1 Filed 07/07/16 Page 10 of 20 Page ID #:10




   1 March 25, 1983 Boss patent filing date. Accordingly, the PTO Board once again
   2 designated Boss as the senior party in the interference and entitled them to the
   3 presumption of being the prior inventor.
   4         30.   In December 2008, the PTO Board ruled that the Boss application won
   5 priority of invention over the Cabilly III application. See Cabilly v. Boss, (B.P.A.I.,
   6 unpublished decision, Dec. 8, 2008). In its decision, the PTO Board declined to
   7 consider all of the potential invalidity grounds for the Cabilly III application, stating,
   8 e.g., “we believe obviousness-type double patenting is best considered in the first
   9 instance by the examiner upon resumption of ex parte prosecution.” Id. at 25.
  10         31.   On appeal, the U.S. Court of Appeals for the Federal Circuit (“Federal
  11 Circuit”) affirmed the PTO’s ruling regarding priority. See Boss v. Cabilly, 355
  12 Fed. Appx. 416 (Fed. Cir. 2009) (Appeal No. 2009-1264).
  13         32.   On July 12, 2010, Defendants filed a request to reopen prosecution of
  14 the Cabilly III patent application and concurrently submitted 409 prior art references
  15 to the PTO.
  16         33.   On December 21, 2010, without any further substantive prosecution,
  17 the Examiner issued an Examiner’s Amendment, recorded the terminal disclaimer
  18 that had been filed over the Cabilly II patent in response to the PTO’s ruling that the
  19 Cabilly III patent application includes substantially the same invention as the
  20 Cabilly II patent, and allowed the Cabilly III patent application, which went on to
  21 issue as the Cabilly III patent with the same expiration date as the Cabilly II patent.
  22         34.   The same day that the Cabilly III patent application was allowed by the
  23 PTO, Defendants alerted this Court of this fact by filing the PTO Notice of
  24 Allowance for the Cabilly III patent in a then-pending litigation involving GSK and
  25 its antibody product, Arzerra®. See Glaxo Group Ltd. v. Genentech, Inc., Case No.
  26 2:10-cv-02764 (C.D. Cal.) (Notice of Notice of Allowance and Fee(s) Due Issued by
  27 the United States Patent and Trademark Office, dated January 28, 2011), Dkt No.
  28 84.

                                                -10-                         Case No. 2:16-CV-4992
                                                              COMPLAINT FOR DECLARATORY JUDGMENT
Case 2:16-cv-04992-GW-AGR Document 1 Filed 07/07/16 Page 11 of 20 Page ID #:11




   1         35.   Defendants have asserted the Cabilly III patent in every Cabilly-related
   2 litigation since that date.
   3         36.   If the PTO Board’s first interference decision in favor of the Boss
   4 patent had not been reversed as a result of the private Genentech-Celltech
   5 agreement, the Boss patent would have expired in 2006, and the public would
   6 thereafter have been free to use the inventions claimed in the Cabilly patents, as is
   7 the case everywhere in the world, except the United States.           Instead, because
   8 Genentech and Celltech agreed to request that the Court reverse that result,
   9 Defendants received the Cabilly II and Cabilly III patents, which would not be in
  10 force but for the private Genentech-Celltech agreement. Consequently, Defendants
  11 have ostensibly extended their power to exclude others from making, using, or
  12 selling the inventions claimed in the Boss Cabilly patents until 2018—more than 35
  13 years after the initial Cabilly I application, and more than 12 years after the prior
  14 Boss patent would have expired. The combined period of patent exclusivity secured
  15 by the Defendants for the Cabilly patents, which all share the same specification, is
  16 29 years.
  17        PLAINTIFF’S DISPUTE WITH GENENTECH REGARDING THE
  18                               CABILLY III PATENT
  19         37.   Genentech has aggressively enforced the Cabilly patents across the
  20 biopharmaceutical industry through multiple litigations and licensing demands.
  21         38.   Through its statements and actions, Genentech has made clear to the
  22 biopharmaceutical industry generally, and to Plaintiff in particular, that it contends
  23 the claims of the Cabilly patents preclude others from commercially manufacturing
  24 recombinant antibodies without Genentech’s permission.
  25         39.   For example, in 2002, after the Cabilly II patent issued, Sean Johnston,
  26 then Genentech’s Vice President of Intellectual Property and now Genentech’s
  27 Senior Vice President and General Counsel said:
  28

                                              -11-                        Case No. 2:16-CV-4992
                                                           COMPLAINT FOR DECLARATORY JUDGMENT
Case 2:16-cv-04992-GW-AGR Document 1 Filed 07/07/16 Page 12 of 20 Page ID #:12




   1               “The recently issued patent broadly covers the co-
   2               expression of immunoglobulin heavy and light chain genes
   3               in a single host cell .... We do not believe that the claims
   4               are limited by type of antibody (murine, humanized [90%
   5               human sequence], or human) or by host cell type.”
   6 See Exhibit B (“Genentech Awarded Critical Antibody Patent,” Nature
   7 Biotechnology, vol. 20, p. 108 (Feb. 2002)) at 1 (emphasis added).
   8        40.    Genentech has also made public statements about pursuing an
   9 aggressive litigation policy to protect its products against competition and to protect
  10 against alleged infringement of the Cabilly patents. In its 2009 Form 10-K filing
  11 with the Securities and Exchange Commission, Genentech states:
  12               “Intellectual property protection of our products is crucial
  13               to our business. Loss of effective intellectual property
  14               protection could result in lost sales to competing products
  15               and loss of royalty payments (for example, royalty income
  16               associated with the Cabilly patent) from licenses. We are
  17               often involved in disputes over contracts and intellectual
  18               property, and we work to resolve these disputes in
  19               confidential negotiations or litigation. We expect legal
  20               challenges in this area to continue. We plan to continue
  21               to build upon and defend our intellectual property
  22               position.”
  23 See Exhibit C (Genentech’s Form 10-K filed with the U.S. Securities
  24 and Exchange Commission for the fiscal year ended December 31,
  25 2008) at 39 (emphasis added).
  26        41.    Genentech also states: “We have in the past been, are currently, and
  27 may in the future be involved in material litigation and other legal proceedings
  28

                                              -12-                         Case No. 2:16-CV-4992
                                                            COMPLAINT FOR DECLARATORY JUDGMENT
Case 2:16-cv-04992-GW-AGR Document 1 Filed 07/07/16 Page 13 of 20 Page ID #:13




   1 related to our proprietary rights, such as the Cabilly patent litigation and
   2 reexamination ....” See id. at 18 (emphasis added).
   3        42.    This aggressive litigation policy is evidenced by the numerous prior
   4 lawsuits involving the Cabilly III patent. On information and belief, Genentech
   5 contends that the process and certain starting materials used to produce
   6 KEYTRUDA® (pembrolizumab) and/or bezlotoxumab infringe one or more claims
   7 of the Cabilly III patent. KEYTRUDA® (pembrolizumab) and bezlotoxumab are
   8 made by recombinant DNA techniques, and as discussed below, Genentech has
   9 asserted the Cabilly patents against several other antibodies made by recombinant
  10 DNA techniques.
  11        43.    Genentech has alleged infringement of the Cabilly III patent by other
  12 manufacturers of recombinant antibodies, including Human Genome Sciences, Inc.
  13 (“HGS”), GlaxoSmithKline LLC (“GSK”), Lonza Biologics, Inc. (“Lonza”),
  14 Bristol-Myers Squibb Company (“BMS”), Eli Lilly and Company (“Eli Lilly”),
  15 Sanofi-Aventis U.S. LLC (“Sanofi”) and Regeneron Pharmaceuticals, Inc.
  16 (“Regeneron”), and Genzyme Corporation (“Genzyme”). Human Genome Sciences
  17 Inc. v. Genentech, Inc. et al., No. 11-cv-6594-MRP-JEM (C.D. Cal. 2011);
  18 Genentech, Inc. et al. v. Glaxo Group Ltd. et al., No. 11-cv-3065-MRP-JEM (C.D.
  19 Cal. 2011); Bristol-Myers Squibb Co. v. Genentech, Inc. et al., No. 13-cv-5400-
  20 MRP-JEM (C.D. Cal. 2013); Eli Lilly & Co. et al. v. Genentech, Inc. et al., No. 13-
  21 cv-7248-MRP-JEM (C.D. Cal 2013); Sanofi-Aventis US LLC, et al. v. Genentech,
  22 Inc. et al. No. 15-cv-5685-GW-AGR (C.D. Cal. 2015); Genzyme Corp. v.
  23 Genentech, Inc. et al., No. 15-cv-9991-GW-AGR (C.D. Cal. 2015).                 In fact,
  24 Genentech and City of Hope filed a patent infringement action against HGS, GSK,
  25 and Lonza for infringement of the Cabilly III patent on the very day that the PTO
  26 issued the Cabilly III patent. Genentech, Inc. et al. v. Glaxo Group Ltd. et al., No.
  27 11-cv-3065-MRP-JEM (C.D. Cal. 2011), Dkt. 1 (filed April 12, 2011).
  28

                                              -13-                        Case No. 2:16-CV-4992
                                                           COMPLAINT FOR DECLARATORY JUDGMENT
Case 2:16-cv-04992-GW-AGR Document 1 Filed 07/07/16 Page 14 of 20 Page ID #:14




   1        44.   In addition, Genentech has never disputed that an actual case or
   2 controversy exists whenever a company has sought a declaratory judgment of
   3 invalidity or non-infringement of the Cabilly III patent. On information and belief,
   4 Genentech contends that the recombinant methods used by Merck to produce
   5 KEYTRUDA® (pembrolizumab) and bezlotoxumab are similar in relevant aspects
   6 to the recombinant methods used by HGS, GSK, BMS, Eli Lilly, Sanofi/Regeneron,
   7 and Genzyme to produce their antibody products including, among others:
   8 Benlysta®, Arzerra®, Yervoy®, Erbitux®, Praluent®, and Lemtrada®.
   9        45.   Genentech has also asserted the Cabilly II patent in litigation against
  10 other manufacturers of recombinant antibodies, including MedImmune, Inc.
  11 (“MedImmune”), Centocor Ortho Biotech, Inc. (“Centocor”), HGS, GSK, BMS, and
  12 Eli Lilly. MedImmune, Inc. v. Genentech ,Inc. et al., No. 03-cv-02567-MRP-CT
  13 (C.D. Cal. 2003); Centocor Inc. v. Genentech, Inc. et al., No. 08-cv-3573-MRP-
  14 JEM (C.D. Cal. 2008); Human Genome Sciences Inc. v. Genentech, Inc. et al., No.
  15 11-cv-6519-MRP-JEM (C.D. Cal. 2011); Glaxo Group Ltd. et al. v. Genentech, Inc.
  16 et al., No. 10-cv-02764-MRP-FMO (C.D. Cal. 2010); Bristol-Myers Squibb Co. v.
  17 Genentech, Inc. et al., No. 13-cv-5400-MRP-JEM (C.D. Cal. 2013); Eli Lilly & Co.
  18 et al. v. Genentech, Inc. et al., No. 13-cv-7248-MRP-JEM (C.D. Cal 2013). On
  19 information and belief, Genentech contends that the recombinant methods used by
  20 Merck to produce KEYTRUDA® (pembrolizumab) and bezlotoxumab are similar
  21 in relevant aspects to the recombinant methods used by MedImmune, Centocor,
  22 HGS, GSK, BMS and Eli Lilly to produce their various antibody products,
  23 including: Synagis®, ReoPro®, Remicade®, Stelara®, Benlysta®, Arzerra®,
  24 Yervoy® and Erbitux®.
  25        46.   Genentech has also pursued an aggressive licensing campaign.
  26 Following reexamination of the Cabilly II patent in the PTO, Genentech touted the
  27 licensing of the Cabilly II patent by “many biotechnology and pharmaceutical
  28 companies…for their commercial products,” explaining that the patent broadly

                                             -14-                        Case No. 2:16-CV-4992
                                                          COMPLAINT FOR DECLARATORY JUDGMENT
Case 2:16-cv-04992-GW-AGR Document 1 Filed 07/07/16 Page 15 of 20 Page ID #:15




   1 relates to “methods used to make antibodies and antibody fragments by recombinant
   2 DNA technology, as well as recombinant cells and DNA that are used in those
   3 methods.”       See Exhibit D (“Genentech Receives Final Notification Upholding
   4 Cabilly Patent in Reexamination Proceeding,” Genentech Press Release (Feb. 24,
   5 2009)) at 1-2.
   6        47.      On information and belief, Genentech has received a significant
   7 amount of revenue from licensing the Cabilly patents. For example, according to
   8 Genentech, between 1991 and 2013, Genentech entered into a total of 70 licenses
   9 granting rights to the Cabilly II patent. See Sanofi-Aventis U.S. LLC and Regeneron
  10 Pharmaceuticals, Inc. v. Genentech, Inc. et al., IPR2015-01624, Paper No. 14
  11 (Patent Owners’ Preliminary Response under 37 C.F.R. § 42.107) (Nov. 9, 2015) at
  12 6-7.
  13        48.      In addition to the statements and conduct directed at others, Defendants
  14 have made statements and engaged in conduct directed to Plaintiff that create a real
  15 and immediate dispute between the parties regarding the Cabilly III patent.
  16 Specifically, Plaintiff and Defendants have been involved in patent license
  17 discussions with respect to KEYTRUDA® and bezlotoxumab.
  18        49.      In sum, Genentech’s statements that it will enforce its intellectual
  19 property, and specifically the Cabilly III patent, to defend its hefty patent royalty
  20 stream, the numerous examples of similar infringement suits it has filed, and past
  21 license      negotiations   between   Plaintiff   and   Genentech     with    respect    to
  22 KEYTRUDA®, bezlotoxumab and other investigational antibody products establish
  23 that a real and immediate dispute exists between parties with adverse legal interests
  24 concerning the Cabilly III patent and Merck’s sale of KEYTRUDA®
  25 (pembrolizumab) and future sale of bezlotoxumab.             Plaintiff therefore has a
  26 reasonable apprehension of suit by Genentech regarding the Cabilly III patent.
  27
  28

                                                -15-                        Case No. 2:16-CV-4992
                                                             COMPLAINT FOR DECLARATORY JUDGMENT
Case 2:16-cv-04992-GW-AGR Document 1 Filed 07/07/16 Page 16 of 20 Page ID #:16




   1                              FIRST CAUSE OF ACTION
   2                                PATENT INVALIDITY
   3         50.   Plaintiff re-alleges and incorporates by reference the allegations of the
   4 preceding paragraphs of this Complaint as if fully set forth herein.
   5         51.   An actual and substantial controversy has arisen and now exists
   6 between the parties concerning the validity of the Cabilly III patent.
   7         52.   Claims 1-47 of the Cabilly III patent is invalid because the purported
   8 inventions therein fail to meet the conditions for patentability specified in 35 U.S.C.
   9 §§ 101 et seq., including but not limited to 35 U.S.C. §§ 102, 103, and 112, and
  10 nonstatutory common law doctrines.
  11         53.   By way of example and without limiting the grounds of invalidity that
  12 will be asserted in this action, each claim of the Cabilly III patent is invalid at least
  13 because each claim is invalid under the judicially-created doctrine of obviousness-
  14 type double patenting in view of the claims of the Cabilly I patent alone or in
  15 combination with other prior art references and/or the knowledge of a person of
  16 ordinary skill in the art.
  17         54.   By way of further example and without limiting the grounds of
  18 invalidity that will be asserted in this action, each claim of the Cabilly III patent is
  19 invalid for failure to satisfy the written description requirement of 35 U.S.C. § 112.
  20 The claims of the Cabilly III patent are directed generally to methods for producing
  21 any type of immunoglobulin molecule in any type of host cell using any number of
  22 vectors and assembly techniques; however, the Cabilly III patent fails to convey to a
  23 person of skill in the art that the inventors were in possession of the full scope of the
  24 claimed subject matter. The Cabilly III patent fails to provide sufficient written
  25 description for a representative number of species to demonstrate that the inventors
  26 were in possession of the full scope of the claimed subject matter.
  27         55.   By way of further example and without limiting the grounds of
  28 invalidity that will be asserted in this action, each claim of the Cabilly III patent is

                                                -16-                        Case No. 2:16-CV-4992
                                                             COMPLAINT FOR DECLARATORY JUDGMENT
Case 2:16-cv-04992-GW-AGR Document 1 Filed 07/07/16 Page 17 of 20 Page ID #:17




   1 invalid for failure to satisfy the enablement requirement of 35 U.S.C. § 112. As
   2 noted supra, the claims of the Cabilly III are directed generally to methods for
   3 producing any type of immunoglobulin molecule in any type of host cell using any
   4 number of vectors and assembly techniques. The Cabilly III patent provides only a
   5 single experimental example that uses a single type of vector in a single type host
   6 cell using a single type of assembly technique to purportedly make a single type of
   7 immunoglobulin molecule.        The Cabilly III patent fails to provide sufficient
   8 teachings that would enable a person of ordinary skill in the art to make and use the
   9 full scope of the claims without undue experimentation.
  10        56.    Merck expressly reserves the right to assert additional grounds of
  11 invalidity after having the ability to conduct discovery.
  12        57.    Plaintiff seeks a declaratory judgment that the Cabilly III patent is
  13 invalid.
  14                            SECOND CAUSE OF ACTION
  15                               NON-INFRINGEMENT
  16        58.    Plaintiff re-alleges and incorporates by reference the allegations of the
  17 preceding paragraphs of this Complaint as if fully set forth herein.
  18        59.    An actual and substantial controversy has arisen and now exists
  19 between the parties concerning whether Plaintiff’s manufacture, use, sale, offer for
  20 sale, or importation of Merck’s KEYTRUDA® (pembrolizumab) and/or
  21 bezlotoxumab products infringes any valid and enforceable claim of the Cabilly III
  22 patent, either directly or indirectly, literally, under the doctrine of equivalents, or
  23 otherwise.
  24        60.    By way of example and without limiting the grounds of non-
  25 infringement that will be asserted, Merck’s KEYTRUDA® (pembrolizumab) and
  26 bezlotoxumab products do not infringe because they do not contain a “variable
  27 region comprising non human mammalian variable region sequences.”
  28

                                               -17-                        Case No. 2:16-CV-4992
                                                            COMPLAINT FOR DECLARATORY JUDGMENT
Case 2:16-cv-04992-GW-AGR Document 1 Filed 07/07/16 Page 18 of 20 Page ID #:18




   1         61.   Merck expressly reserves the right to assert additional grounds of non-
   2 infringement after having the ability to conduct discovery and the Court has
   3 construed the claims.
   4         62.   Plaintiff seeks a declaratory judgment that making, using, offering to
   5 sell, selling, and importing KEYTRUDA® (pembrolizumab) and/or bezlotoxumab
   6 does not and will not infringe any valid and enforceable claim of the Cabilly III
   7 patent.
   8                             THIRD CAUSE OF ACTION
   9            UNENFORCEABILITY DUE TO PROSECUTION LACHES
  10         63.   Plaintiff re-alleges and incorporates by reference the allegations of the
  11 preceding paragraphs of this Complaint as if fully set forth herein.
  12         64.   An actual controversy has arisen and now exists between the parties
  13 concerning the enforceability of the Cabilly III patent.
  14         65.   The Cabilly III patent is unenforceable under the doctrine of
  15 prosecution laches.     The Cabilly III patent issued on April 12, 2011 from an
  16 application filed on April 13, 1995 and which claims priority to an application filed
  17 on April 8, 1983. Thus, the claims of the Cabilly III patent issued over 28 years
  18 after the original priority application was filed.
  19         66.   The Cabilly III patent’s 28 year prosecution is the result of Defendants
  20 purposeful delay in prosecuting of the claims of the Cabilly III patent. For example,
  21 Defendants unreasonably delayed in waiting over twelve years to even file the
  22 application that led to the Cabilly III patent and, once filed, Defendants failed to
  23 reasonably advance prosecution of the application that led to the Cabilly III patent,
  24 including, inter alia, by allowing the application to go abandoned for over two years
  25 despite having already receiving a Notice of Allowance and presenting new claims
  26 in July 2010, over fifteen years after the application was filed and over ten years
  27 after the PTO first issued a Notice of Allowance.
  28

                                                -18-                       Case No. 2:16-CV-4992
                                                            COMPLAINT FOR DECLARATORY JUDGMENT
Case 2:16-cv-04992-GW-AGR Document 1 Filed 07/07/16 Page 19 of 20 Page ID #:19




   1         67.    Defendants’ unreasonable delay in prosecuting the claims of the
   2 Cabilly III patent has caused actual harm to Plaintiff and the public. For example,
   3 during the period of Defendants’ delay Merck and others invested significant
   4 amounts of money in developing antibody products, including, for example,
   5 KEYTRUDA® (pembrolizumab).
   6         68.    Plaintiff seeks a declaratory judgment that the Cabilly III patent is
   7 unenforceable under the doctrine of prosecution laches.
   8                               JURY TRIAL DEMANDED
   9         69.    Pursuant to Federal Rule of Civil Procedure 38(b) and Local Rule 38-1
  10 of this Court, Plaintiff demands a trial by jury of all issues so triable.
  11                                 PRAYER FOR RELIEF
  12         WHEREFORE, Plaintiff requests that judgment be entered in favor of
  13 Plaintiff and against Defendants Genentech and City of Hope:
  14         (a)    Declaring the Cabilly III patent invalid;
  15         (b)    Declaring that the manufacture, use, sale, offer of sale, or importation
  16 of Plaintiff’s KEYTRUDA® (pembrolizumab) and/or bezlotoxumab products does
  17 not infringe any valid and enforceable claim of the Cabilly III patent;
  18         (c)    Declaring the Cabilly III patent unenforceable;
  19         (d)    Enjoining Genentech and City of Hope from enforcing the Cabilly III
  20 patent;
  21         (e)    A finding that this case is exceptional under 35 U.S.C. § 285;
  22         (f)    Awarding Plaintiff their costs and attorney’s fees; and
  23         (g)    Awarding Plaintiff such other relief as the Court deems just and proper.
  24
  25
  26
  27
  28

                                                 -19-                          Case No. 2:16-CV-4992
                                                                COMPLAINT FOR DECLARATORY JUDGMENT
Case 2:16-cv-04992-GW-AGR Document 1 Filed 07/07/16 Page 20 of 20 Page ID #:20




   1
       DATED: July 7, 2016            Respectfully submitted,
   2
   3                                  QUINN EMANUEL URQUHART &
                                      SULLIVAN, LLP
   4
   5                                  By /s/ Adam B. Wolfson
                                        Adam B. Wolfson (SBN 262125)
   6                                    adamwolfson@quinnemanuel.com
                                        QUINN EMANUEL URQUHART
   7                                      & SULLIVAN, LLP
                                        865 S. Figueroa St., 10th Floor
   8                                    Los Angeles, California 90017
                                        Telephone: (213) 443-3000
   9                                    Facsimile: (213) 443-3100
  10                                    Raymond N. Nimrod (pro hac vice pending)
                                        raynimrod@quinnemanuel.com
  11                                    Matthew A. Traupman (Pro hac pending)
                                        matthewtraupman@quinnemanuel.com
  12                                    51 Madison Avenue, 22nd Floor
                                        New York, NY 10010
  13                                    Telephone: (212) 849-7000
                                        Facsimile: (212) 849-7100
  14
                                        SIMPSON THACHER &
  15                                      BARTLETT LLP
                                        Jeffrey E. Ostrow (SBN 213118)
  16                                    jostrow@stblaw.com
                                        2475 Hanover St.
  17                                    Palo Alto, CA 94304
                                        Telephone: (650) 251-5000
  18                                    Facsimile: (650) 251-5002
  19                                    Katherine A. Helm (pro hac vice pending)
                                        khelm@stblaw.com
  20                                    425 Lexington Ave.
                                        New York, NY 10017
  21                                    Telephone: (212) 455-2000
                                        Facsimile: (212) 455-2502
  22
  23                                    Attorneys for Plaintiff Merck Sharp &
                                        Dohme Corp.
  24
  25
  26
  27
  28

                                          -20-                        Case No. 2:16-CV-4992
                                                       COMPLAINT FOR DECLARATORY JUDGMENT
